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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


  ALEXANDER STYLLER, INTEGRATED
  COMMUNICATIONS & TECHNOLOGIES,
  INC., JADE CHENG, JASON YUYI, CATHY
  YU, CAROLINE MARAFAO CHENG,
  PUSHUN CHENG, CHANGZHEN NI,
  JUNFANG YU, MEIXIANG CHENG,
  FANGSHOU YU, and CHANGHUA NI,
                                  Plaintiffs,          Civil Action No. 1:16-CV-10386 (LTS)

          vs.

  HEWLETT-PACKARD FINANCIAL
  SERVICES COMPANY, HEWLETT-
  PACKARD FINANCIAL SERVICES (INDIA)
  PRIVATE LIMITED, HP INC., HEWLETT
  PACKARD ENTERPRISE COMPANY, and
  DAVID GILL
                                  Defendants.




                    PLAINTIFFS’ MOTION FOR EXTENSION OF TIME

        Pursuant to Federal Rule of Civil Procedure 7(b) and Local Rule 7.1, Plaintiffs, by and

through their undersigned counsel, respectfully move the Court to extend their time to oppose

Defendants’ motion for spoliation currently due on April 16, 2020, by two weeks to April 30,

2020.

        At the March 10, 2020 Conference, the Court set the due date of April 16, 2020 for

Plaintiffs’ oppositions to Defendants’ motion for partial summary judgment, their Daubert

motion to exclude Plaintiffs’ expert, and their motion for spoliation. ECF No. 313.

        On March 20, 2020, the Governor of the State of New York issued the “New York

State on Pause” executive order in response to the spread of coronavirus in the state. The

pandemic and the public health emergency procedures mandated by the stay-at-home order



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have caused significant unforeseen disruptions and delays in the daily lives of the state’s

residents, including the undersigned counsel for Plaintiffs. Accordingly, Plaintiffs respectfully

seek a brief extension of time to respond to Defendants’ motion for spoliation while keeping

the current deadlines for the other filings.

         Plaintiffs’ counsel has conferred with Defendants’ counsel electronically on April

 10-12, and Defendants’ counsel stated that “Defendants will not join your motion, but will

 also not oppose it if, in your application to the Court you state the following: ‘In light of

 Plaintiffs’ counsel’s representation that he has been impacted by the pandemic and

 quarantine, Defendants do not object to Plaintiffs’ motion for a two-week extension with

 respect to the briefing schedule for the motion for spoliation sanctions [ECF 320-22] only,

 but note for the Court that among the remedies sought on that motion are some that could

 impact Defendants’ pending motion for partial summary judgment [ECF 315-17], which

 briefing schedule is not impacted by Plaintiffs’ extension request.’”

         WHEREFORE, Plaintiffs respectfully request the Court to grant their unopposed

 motion and extend the time for their opposition to Defendants’ spoliation motion until April

 30, 2020, and the time for Defendants’ reply brief on the motion until May 14, 2020.

 Dated: New York, New York
        April 13, 2020
                                                       Respectfully Submitted,




                                                       Dimitry Joffe
                                                       Joffe Law P.C.
                                                       765 Amsterdam Avenue, 2C
                                                       New York, NY 10025
                                                       Tel: (917) 929-1964
                                                       Email: dimitry@joffe.law
                                                       Counsel to Plaintiffs



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                             CERTIFICATE OF CONFERENCE

        Pursuant to Local Civil Rule 7.1(a)(2), counsel for Plaintiffs certifies that he has
electronically conferred with counsel for Defendants on April 10-12, 2020, and counsel for
Defendants do not oppose this motion.

Dated: New York, New York
       April 13, 2020
                                                    By: /s/ Dimitry Joffe
                                                            Dimitry Joffe
                                                            Counsel to Plaintiffs




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                                 CERTIFICATE OF SERVICE

        I, Dimitry Joffe, counsel to Plaintiffs, hereby certify that Plaintiffs’ Assented-To Motion
to Extend Time was filed on April 13, 2020 using the CM/ECF system, and electronic notice
thereof will be sent to the registered participants in this case.

                                              /s/Dimitry Joffe
                                              Dimitry Joffe
                                              Counsel to Plaintiffs




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